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Pratte v. Bardwell, Case No.: 2:19-cv-00239-PHX-GMS
EXHIBIT 1
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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF ARTZONA

Ronald H. Pratte,

Plaintiff,
VS. No.
2:19-cv-00239-
Jeffrey Bardwell and Fanny F. PHX-GMS

Bardwell, husband and wife,

Defendants.

Me ee ee ee et

VIDEOTAPED DEPOSITION OF RONALD PRATTE

Scottsdale, Arizona
February 27, 2020
9:30 a.m.

REPORTED BY:

ANITA LANDEROS, RPR
Certified Reporter
Certificate No. 50538

PREPARED FOR:

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asked them if they were interested, and they all said
absolutely.

Q. Okay. And this is the same meeting where you
gave each of them a check for $2 million, correct?

A Yes, sir

Q. Okay. So prior to giving them that check, you

were speaking to all of them as a group, correct?
A. Yes, sir.
QO. Okay. And if you could -- and, look, I know

we're going back a ways. I mean, this is '05. It's 15

years ago. I get it -- or 14.
A. I was a lot younger then.
Q. Weren't we all?

You know, leading up to that point with the
checks, do you remember anything you said to them as you
handed out the checks or how that happened?

That's a little awkward and let me, if I
could, rephrase. Did you give each of the five fellows
their checks and then say something to them, or did you
hand them to them individually and make a particular
comment to each one as you were going around the group?
Or, if you recall, what happened?

A. I don't recall how -- what the sequence was.
Q. Okay. Did the five fellows appear surprised --

happily surprised when they opened these envelopes?

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A. T would say that would be an honest statement,
yes, sir.
QO. sure.
Because -- and you were looking for whatever

their reaction was going to be, correct?

A. Not really.

Q. Well, did they -- did the five fellows know that
you were going to be giving them a $2 million check?

A. They did not.

Q. So it was a surprise -- it would be a surprise
for them. All right.

So you -- are there any -- if you recall,

did you make any comments that you wanted to make before
you handed out the checks to them about what it
represented or why you were giving them each $2 million?

A. I told them that -- I said -- they didn't -- I
was giving them the money to start this perceived company
that we were talking about and that they should decide
amongst themselves what amount each person should put in
to start the company and that was basically it.

Q. Did you leave that up to them?

A. Absolutely.

Q. So, at some point, you were contemplating or
hoped that the five of them would get together and form a

company to work together?

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be a gift to each of them, didn't you?
MR. COLLINS: Objection, compound.
Go ahead.
THE WITNESS: To my family, not to Jeff
Bardwell.
Q. BY MR. CONNELLY: Okay. So -- and when you say
your family, who are referring to?
A, Trevor, Justin, Jaime and Tedd.
Q. So to those that you considered family, it was a
gift?
A Yeah, I would say that.
Q. An unconditional gift?
A Absolutely.
Q And what was it -- what was your understanding
with respect to the $2 million you gave Jeff Bardwell?
A. It was a verbal contract that Jeff Bardwell would

work for me until I died.
And --

Q.
A. That's --
Q.

Go ahead.
A. -- exactly the way it was stated to Jeff
Bardwell.
Q. And who stated that to him?
A. I did.
oC. And where did that occur?

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A. Well, like I said earlier, it had to have
occurred, although I don't remember it, prior to him going
to Las Vegas, or I can't imagine that he would have been
on the plane and in the meeting.

Q. Why do you say it had to have occurred prior to
Las Vegas?

A. Well, I just -- I just -- I don't remember having
a meeting with him about it prior to that. But common
sense tells me that he wouldn't have been at the Las Vegas
meeting if there had not been some kind of prior agreement
to going to Las Vegas.

Q. But, as you sit here today, you don't recall any
such meeting between and you Jeff?

A. I do not.

Q. And, as you sit here today, you don't recall any
such oral promise at the Las Vegas airport from Jeff to
you or you to Jeff?

A, Him saying: Yes, I agree to do that?

Q. Well, you'd have to say something to him first so
he knew what he was agreeing to.

A. Exactly.

Q. Do you recali talking to Jeff in front of the
others at the Las Vegas airport about a promise to work
for you for life?

A. I told the whole group: Everybody needs to

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understand that Bardwell's going to work for me. He's not
going to be working as part of this company that you guys
are going to form.

And everybody agreed to that, including

Bardwell.
Q. Okay. Is that exactly how you remember it?
A Yes, sir
Q. And, at that point, this -- the company or

companies that you were hoping or contemplating that the
five of them might form, nothing had actually been done
yet to form any such entity or entities, had it?

A. Nothing at all.

Q. So this was all -- well, maybe more of
conjecture, but it was just contemplated. There wasn't --

nobody had taken any substantive action to form those

companies?
A. No, sir.
Q. In fact, weren't -- weren't the first of those

companies formed some several months or more later in the
spring of '06?

A. I don't know exactly when they were formed,
because I didn't have anything to do with it.

Q. Okay. Do you know -- well, do you know who did
form those companies?

A. IT think Bill Shisler did, but I'm not for sure on

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Systems?
A. I did.
Q. So would it be fair to say the Pratte Building

Systems, as the name would suggests, was more involved in
building residential and -- well, was it limited to
residential? Did you do residential and commercial?

A. Pratte Development did commercial -- or

commercial early on in the early '70s, but after that

QO. You were -- it was more focused on residential?
A. Yes, sir.
Q. Okay. And the Pratte Development Company was

another entity, but it kind of backed up that building
company. They worked together, didn't they?
A. No. Pratte Building Systems came to be when

Pulte became a partner.

Q. Ah, okay. And that was, what, in the early
2000s?
A. It was 2002 or somewhere in there.

Q. Okay. And they actually ended up -- Pulte

actually ended up buying your company, correct, or

companies?
A. That was the deal going in, yes, sir.
Q. All right. And do you remember when that

occurred, when they actually acquired you?

A. December of ‘05.

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public company. My half was private.

Q. That's a good point.

And your position in the company was

private. Pulte, of course, is a public -- was a
publicly-traded company at the time.

A. Still is.

Q Still are, right?

A. Still is.

0 Okay. So all they did was, when they acquired
you, they just increased their position in that industry
by adding your half of the, you know, your interests ina

joint venture-type position to theirs, right?

A. Yes, sir.
Q. Okay. Referencing Pratte Building Systems, if
you recall, and let's call it -- at its peak, how many

employees do you think Pratte Building Systems had at any
given time at its height?

A. The number I've been told was between 4,800 and
5,200, somewhere in that range.

Q. All right. And that number would fluctuate over
time, but is that a number that was fairly commensurate
over time until you sold the company?

A. Well, define "over time."

QO. Sure.

I mean, you wouldn't be 4,800 to 5,200 for

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Q. Well, a part of it. And thanks for answering it

that way. That's helpful too, because it kind of defines

it a little bit better. But there were employees on

Pulte's side and this is when you were join -- you joined
with them. And -- but you're still running your own
company as -- with Pulte. You're kind of ina JV. Is

that a fair way to describe it?

A Yes, sir
Q. But there were employees on your side, too.
A. They're all on my side. They only had one person

come into my company.

Q. Okay. How many employees, you know, did Pratte
Industries employ at that time, before you sold? Just
best guess.

A. 3,000 maybe.

Q. Okay. Do you remember -- again, you have --
again, I may have asked this before and I think you said
it occurred in increments, but do you remember the range
that Pulte acquired you for at -- back in '05 or what
generally was the deal? What were they to pay you for the
other -- we'll call it the other half of the company where

Pulte subsumed Pratte Industry?

A. It was a complicated formula based on earnings,
their projections and -- I couldn't tell you a specific
number. It was never defined specifically.

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expecting to be able to come to you for advice.

And I use the term mentorship and I use that
in terms of both your professionalism and affection for
these guys and that you wanted them to be successful. Is
that also fair?

A Uh-huh.

QO I'm sorry?

A. Yes.

Q And that was your plan. You were going -- you
were going to help them. I mean, you were going to do
these things -- if they came to you and asked for your
help, you were there to help them.

A. That was my dream, that they would become a
premier homebuilder, because they certainly had the

QO. And who had better knowledge about how to get
there, quite frankly, than somebody like you that had been

there in good times and bad times and survived and still

grew?
A. Or them. They were all very --
QO. Understood.
A. -- very knowledgeable.
OQ. You know what, and that's certainly a nice way to

frame it. They helped you get there. Is that also fair?
A. Everybody helped me.

Q. Okay. And very, you know, nice of you to say.

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And Jeff, at that time, as we understand it
from prior depositions, had been brought in, trained in
Nevada, and then -- for six or eight weeks or whatever it
was, and then -- when I say "trained," I think he already
had familiarity with the lumberyards. But you had certain
programs and things. I mean, you kind of mentioned those
earlier -- you did or Pratte Industries.

Jeff got brought in to develop or improve or
enhance, or however you want to view it, the Phoenix
lumberyard, which was his responsibility in Phoenix as --
correct?

A. I don't know about improve or enhance or
programs, but he was hired to run the Phoenix lumberyard.

Q. Yeah. Well, if I told you that Jaime Ziparo told
us that -- you know, I don't want to say the lumberyard
was nonexistent, but they wanted to build a new lumberyard
in Phoenix to support the tremendous growth that was

happening. Would you disagree with that?

A. Not at all.

Q Okay. So that's what I'm telling you he did.

A. Okay.

0 And I'm telling you others said that's what he
did.

A. Okay.

Q. But I want to know what you remember, obviously.

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A. If he said it did, I'm sure it did.
Q. Okay. But wasn't it during those times together
that you guys -- that you and Jeff Bardwell actually got

to know each other better and actually became friends?

A. There was a time period where Jeff and I were
very close and we became friends.

Q. Okay.

A. But I don't know exactly when that was.

Q. Oh, all right. That's fine. That's a good way
to describe it.

How -- how did you guys become close and

become good friends?

A. I just gained a lot of respect for the guy,
because he was just an excellent worker. He did what -- a
man of his word. Said -- did what he said he was going to

do. That's kind of what --

Q. Honest guy?

A. Very honest, very honest.

Q. And I think you just said it, but hard worker?

A. Absolutely.

Q. Not against putting in whatever the hours were
required?

A. Absolutely.
Q. So he would appear -- and I'm speaking from your

perspective now -- to be a good choice to line up with

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(Mr. Marlowe returned to the proceedings.)

Q. BY MR. CONNELLY: And that's what everybody
received at the airport, right?

A. Yes, sir.

Q. Okay. And it's your testimony that Jeff must
have made a promise to you prior to that; you just don't
remember when or what was said specifically in that
promise, correct?

A. That's correct.

Q. But you've also testified that you remember
saying in front of the five of them that Jeff was going to
continue working for you and he was doing it because you
were giving him a $2 million cashier's check?

A. Yes, sir.

QO. And you're confident that the other -- well, not
only Jeff, but the other four individuals would have heard

this, where you were all situated and talking, correct?

A. Yes, sir.

Q. Because you wanted them to all hear it?

A. Yes, sir.

Q. So if several of those people testified that they

never heard such a request from you or a promise from
Jeff, how would you explain that?
A. I wouldn't know how to explain it. How would you

explain it?

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A. -- and keep going?
That was my hope and dream in this thing.
And they were all very bright and very -- you know, not
afraid of work. And that's what it takes.
Q. Okay. And if for whatever reason one or more of

them decided, that's not what I'm going to do, they could
just keep the 2 million and be gone, except for Jeff?

A. Yes, sir.

Q. Because for the $2 million, it's your testimony
that you gave that to him to guarantee his working for you

for the rest of your life?

A. I gave him that and much more than the 2 million.
QO Well, we're at the airport now.

A Right.

Q What did you give them at the airport --

A I gave them 2 --

Q. -- besides the 2 million?

A I gave them $2 million at the airport.

Q That's all you gave them.

A. Well, I gave them a commitment that the rest of

the stuff would come, if that's what you're asking.

Q. Did you describe what that was going to be?

A. T told them I was going to give them the
properties that I -- the Pulte properties.

Q. And did you describe specifically what those were

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and when you were going to transfer them?

A. They knew what they were, the yards that Pulte
occupied and --

Q. But you didn't specifically state what they were?

A. I don't remember if I stated it.

Q. So at the airport the one thing that Jeff

Bardwell had in his hand from you was the $2 million?

A. That's correct.

Q. There was no writing from you committing any
other properties or assets at that time, were there?

A. There was not.

oC. And if you decided not to transfer those
properties, not one of the five fellows at that meeting
could have said: Well, you failed to give us the rest of
what you promised us?

A. That would be my understanding.

Q. So, if that's the case, as you've just stated it
is, Jeff was promising to work for you for the rest of
your life for the $2 million, because that's all he had in

his hand at that time, correct?

A. I don't know how to answer your question.
0 Well --

A. You're going to have to ask it.

Q -- that's your complaint.

So I'm asking what was your intent at the

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I suppose they could have. Tf don't know.

Q. But would you have felt the same about two of
them trying to go forward as opposed to all five?

A. No. They all five had their separate talents
that gelled well together in my mind.

Q. So that made sense to you, that if all five
formed the company, that it made sense then that you would
have transferred the assets as you did?

A. That's correct.

Q. So is it probable that if you couldn't get those
five to agree going forward with these later-formed
entities and you only ended up with Jeff, Trevor and
Justin, would you still have transferred the money just to
those three to form this building company and these other
entities?

MR. COLLINS: Objection, speculation.

Go ahead and answer.

THE WITNESS: They all agreed, so that
wasn't an option. They all agreed at our first meeting,
so it wasn't a consideration.

Q. BY MR. CONNELLY: So what was the first meeting?

A. The Las Vegas airport.

Q. Okay. Well, now you're saying they all agreed to
do what?

A. They all agreed that they were going to get

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'O5?

A. Yeah.

Q. Okay. But you didn't invite any of these other
people who at the time you considered to be your key
people in the company when things were still -- when you
were running things, you didn't invite them. You invited
who you invited.

A. I didn't want a company. I wanted a family
business.

Q. All right. And you thought of Jeff as family at
the time; didn't you?

A. Absolutely, absolutely.

Q. Because my question is, you know: Why Jeff? Why
did you -- out of all of these people you had access to,
that helped you build this company, how did Jeff get
included with your two sons and the other two family
members to get invited?

A. He's just -- he was an honest, hard-working,
good, family man. And that's probably how he got invited.

Q. And you were able to make that judgment call on
him in that time period we've been -- I've been asking you
about, '02, '03 '04?

A. I don't remember the exact dates and you keep
asking me that, okay. That actually happened. Okay.

Because he was part of the five guys. Exactly when that

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evolved, I don't know the answer to that.

Oo. We've had some people that have indicated, in
line with what you're telling us now, that you considered
Jeff kind of a surrogate son, to an extent.

A. He was a good kid.

Q. and, actually, from time to time would call him
son in front of other people, other employees?

A. I'd say: This is my adopted son.

Q. And is it fair to say that that was -- well,
based upon your view of his work ethic and his efforts on
your behalf, is that why you would refer to him that way?

A. His work ethic was excellent. He was very
respectful, okay. That's big with me. Didn't lie to me,
okay. If he made a mistake -- hey, I screwed up. It was
all that; all of that's huge.

Q. Okay. In that vein -- and I'm kind of going off
point here -- do you remember an incident with an engine
that was missing from the company?

A. I do.

Q. Did you come to determine who actually took that
engine out of the company?

A. T didn't know.

Q Did it come back?

A. Tt came back.
Q

How long was that engine missing?

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A Well --
Yes.

A. -- that's what you asked me for, was my view of
things.

QO. So you're saying that these things that you gave,
the $2 million and then the later assets -- let me
rephrase.

The promise -- what you said today and how

you remembered it, the promise from Jeff was made to work
for you for life at the December 5th meeting or prior; is
that accurate?

A. I would -- that would be my recollection, yes.

Q. Okay. Well, do you remember him saying that in
front of anybody else after December of '05?

A. I think he said it to lots of people after

December '05.

Q. With you there?
A. Not with me there, no, sir.
oO. I see. So the time that he said it to you in

front of anybody else just happened to be all family
members. If it occurred, would have been at certainly at
the airport in December of '05, correct?

A. I think he would have said it to me personally
prior to that, or I would not have invited him to go on

the trip.

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QO. And, well, didn't you testify earlier -- if he

did that, then he would have known that you were giving
everybody a $2 million check, right?

A. No, no.

Q. Well, then why would he work for you for life if

he didn't even know what you were going to give him?

A. ‘Cause I told him he would be taken care of.

Q. That's it? You said: You'll be taken care of?

A. That's what I recall having said.

Q. Well, it seems like you were already taking
pretty good care of -- was he making over 100,000 a year?

A. Yeah, but there's a big difference between

100,000 and what he got out of this deal.

Q. There sure is.

But you're claiming that he promised you to
work for life?

A. That's correct.

Q. But he didn't know what you were willing to give
him to get that commitment back until the airport,
correct?

A. I would say if he was promised $100,000 a year,
plus, you know, incremental raises, it's as good as what
he had. So I don't know how to answer your question.

Q. Well, because you don't know?

A. Because I don't know.

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VIDEOTAPED DEPOSITION OF RONALD PRATTE
February 27, 2020

Q. So you didn't tell him prior to December --

A. I didn't say: Look, Bardwell. I'm going to give
you 10 million bucks. You need to come to work for me for
the rest of your life.

Q. You just said: I'm going to take care of you.
Come work for me for the rest of my life?

A. Right .

Q. Is that what you're saying happened?

A. Pretty much, pretty much.

Q. And then at the airport, that's the first time he

became aware what kind of money you were talking about,

right?
A. IT think so.
Q. And then there was -- and it wasn't just the

2 million. You gave other assets later to a company that
he was made a member of, an equal member of, right?
$2 million at the airport?

A. The land deals, yes.

Q. And then you transferred over money, four or five
months later, to which Jeff became a 20 percent individual

owner through a company with the other four guys, correct?

A. I didn't transfer any monies. I transferred
property.

oO. Land assets?

A. Yes.

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do.
Q. And my father passed away this past December at

103, literally. And he was still able to motor on his own
volition.

Would there come a time when Jeff could
retire from this alleged lifelong work engagement with
you? I'll give you an example.

What would happen when Jeff turned 65, an
age when a lot of people look to retire and so forth?
Could he have retired, at that point, or if you were still

going strong, you could have required him to continue on?

A. How old -- how old is Bardwell now? I don't
know.

Q. I'll ask the questions here, if it's okay with
you

A. I'm trying to answer your question by asking a
question.

Q. No, you asked a question.

How long did Jeff have to work for you?
A. I would think he would be done by 65.
Why do you think that?
A. I just think that's -- he would have fulfilled

his obligation by then.
oO. All right. Fair enough.

And you had kind of picked that as a --

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VIDEOTAPED DEPOSITION OF RONALD PRATTE
Pebruary 27, 2020
Q. And do you know why? When somebody makes a gift
like this, significant as it was -- why did you decide to

pay the gift tax return? I mean, was that a decision you

made or did somebody else make that for you?

A. I made that decision.

Q. Okay. Why did you make that decision?

A. Because they wouldn't -- the number would be
defined -- you know, if I had given them $2 million cash
and they had to pay taxes on it -- I don't know what the

number was. Let's say, it's 800 grand or whatever.

Q. Okay.
A. Okay. I'm not sure that would have been enough
for them to do what I wanted them -- what my vision of

them to do with that company was.
Q. All right. Fair enough.

You wanted them to actually realize the
amount of money that you were giving -- that you were
giving so that they would actually realize that and
wouldn't have to pay a pretty good portion of it over to
the government?

A. Correct.

Q. So you had kind of calculated, in your own mind,
about what it might take to start these things up that you
were hopeful they would do, and you wanted them to

actually receive -- keep that and be able to retain that

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VIDEOTAPED DEPOSITION OF RONALD PRATTE
February 27, 2020

A.

December

A.
QO.
sizeable

what the

oO Ff Oo fF

envelope?

A.

I understand.
I'm talking about --
This says December --
-- the meeting before December '05.
This -- well, this response relates to
'o5, so
It does.
Okay.
But did you say this to him before December '!05?
I don't know -- remember what I said to him, but
say: I'm going to take care of your salary or
be okay or whatever.
I don't specifically remember --
Okay.
-- what was promised to Jeff Bardwell.
And there isn't any reason to say offering him a
cash payment and million of dollars. You knew
cash payment was. It was 2 million.
I don't know that I knew that prior to.
This is December '05.
December '05 I knew it. Yes, sir.
Right.

He didn't know it until he opened the

That's correct.

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VIDEOTAPED DEPOSITION OF RONALD PRATTE
February 27, 2029

Q. And, at that point, what if Jeff had looked over
to you and said -- $2 million check in hand: Nahhh. I'm
not going to do that?

A. I would have said: Give me the money back.

Q. Okay. So it's your testimony that Jeff didn't

say that. That said Jeff what?

A. Didn't say what?
Q. Jeff didn't say: I'm not going to work for you
for life.

What specifically did he say?

A. He said: I am going to work for him for life,
okay.

Q. He said that directly to you, or was he
commenting to somebody around him?

A. He said it to the group and he said it on many
occasions to many people for many years since that time.

QO. Is it possible that what Jeff said is: For this
kind of gratuity -- for this kind of money, I'm going to
work for this man for the rest of my life?

Is it possible that's what you heard?

A. I don't know what his exact verbiage was.

QO. You mean at the airport on 2005?

A. I don't remember the words he used.

Q. Okay. I just wanted to ask you one other -- have

you met with anybody in the last four months or so

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Pratte v. Bardwell, Case No.: 2:19-cv-00239-PHX-GMS
EXHIBIT 2
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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA

Ronald H. Pratte,

Plaintiff,
Vs. No.
2:19-cv-00239-
Jeffrey Bardwell and Fanny F. PHX-GMS

Bardwell, husband and wife,

Defendants.

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DEPOSITION OF WILLIAM SHISLER

Phoenix, Arizona
August 14, 2020
11:00 a.m.

REPORTED BY:

ANITA LANDEROS, RPR
Certified Reporter
Certificate No. 50538

PREPARED FOR:

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witnesses have indicated that Ron Pratte was a really

hardworking guy. Would you agree with that?

A. One of the hardest working I know.

QO. Pardon?

A, One of the hardest working I know, yes.
QO. Okay. Thanks.

And would you say that in that vein that Ron
was not a great delegator, that he took a lot things on

himself or micromanaged matters?

A. Yes.
QO. Did you think he did that sometimes to a fault?
A, I would have preferred that he did not do it to

the level that he did. Whether or not that's a fault, I
don't know. /

Q. But I suppose in the same vein, his
involvement in his companies could sometimes be helpful,
because you knew that he was always well informed of what
was happening at any given time on any project or other
matter, correct?

A. He surprised me often by the knowledge that he
had, particularly the accounting knowledge. But, again, I
think that was because of the close relationship with Todd
Carriere.

Q. Did you interact regularly with Mr. Pratte over

the years regarding your accountancy work, such that it

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was your opinion that maybe you actually served as a
teacher over the years -- you were there that long --
regarding accounting matters?
A. No, I would not say that.
Q. But did you feel comfortable discussing more than

just mundane accounting matters with him? In other words,
more complex matters, did you feel like he grasped what
you were explaining to him and was able to make decisions
based upon your advice or information?

A. He was able to make decisions. And in the times
that he sought my advice, he understood what I was saying
or I would have made sure that he did.

Q. Did Ron seek your advice on most matters before

he made up his mind to proceed on any given project or

venture?
A. No.
Q. You say "no." You mean he would make up his own

mind and then come and give you a directive on how to
carry it out?
MR. COFFMAN: I'm going to object to the

form. Excuse me.

QO. BY MR. CONNELLY: You can answer.

A. I'm sorry. Repeat the question again.

Q. Sure. Was it more in line that Ron would decide
on his own whatever it was that he wanted done -- and I'm

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A. Yes.
Q. And when did you see -- again, I'm mindful of the

time frames here, but when do you think you kind of
perceived that there was something more than just an
employer-employee relationship going on between Ron Pratte
and Jeff Bardwell?

A. I'm not sure I ever knew there was an

employee-employer relationship between the two of them.

Q. Okay. Let's just talk about their personal
relationship.
A. Yes, I was aware that there was a close personal

relationship between them. I'm not sure when I came to
that conclusion, but it certainly solidified the gift.
Q. Would it be fair to say that sometime in the
early 2000s -- let me rephrase.
Actually, I'll ask you a different question.
There's been other testimony in this case that on occasion
Ron Pratte would refer to Jeff Bardwell as his quote,
adopted son, end quote, to others if they were talking or
visiting, both at the workplace and outside of it.
Do you ever recall hearing that or
understanding that?
A. No.
Q. So you never heard him refer to Jeff as my

adopted son?

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A. No, no.

Q. Are you talking about January 6th, 2006?

A, I'm sorry. January of 2006 he handed out checks.
Q. I'm sorry. I talked over you. Go ahead and

finish your thought.

A, The conversation that I had with Ron regarding
making gifts to his children was six months, possibly even
a year or more before Ron decided to make those
disbursements.

QO. And then you don't remember meeting with him or

discussing it with him again until early '06?

A. That's correct.
Q. Last question I'll ask you before we take a
break.
Do you remember -- well, Ron gave checks to

each of the five guys. You're aware of that, correct?

A. Well, he gave checks to the five people, those
five people and their spouses, where applicable.

Q. Thank you for the clarification. And do you
remember the amounts of those checks?

A. Generally, it was a total of 2,000 -- I'm sorry.
$2 million per family.

Q. Okay. And did you direct those checks to be cut
yourself or did Ron handle that?

A. Ron directed me to cut the checks, which I did.

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December of '05, and those checks may have been postdated
so that Ron could give them out before the holiday, but
the checks may have been dated in January of '06,
Does that refresh your memory at all?

A. Not at all.

Q. Okay. But you remember the checks were
$2 million each and in some instance made out to the

individual and their spouse; you recall that?

A. Whenever's there a spouse, yes, it was made out
jointly.
Q. Okay. And other than that conversation you said

you had had with Ron some six months or longer prior, he
didn't have any more conversations with you until he asked
you to cut those checks?

A. That is correct.

Q. Did he explain what his plan was? I want you to
cut these checks to these five guys and some spouses. Did
he explain what he was going to do?

A. All he said was -- he gave me the list, the
handwritten list, and there were a couple names on there.
Obviously, one in particular, Mr. Bardwell, that I was
surprised by. And Mr. Pratte basically said, just do it.
These are the gifts to everybody.

And then went on to surprise me even more by

including the real estate that was ultimately transferred

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too.
Q. There was also some real estate that was

transferred to each of the five guys some few months after

that -- the checks were given out, correct?
A. Correct.
Q. There was --
A. I'm sorry. Let me interrupt you.
Q. Go ahead.
A. I misstated that.

Your question was real estate was
transferred to the five guys. The correct answer it was
transferred to the five guys and their spouses.

Q. Yes, thank you for that. I was going to clean
that up. And I was going to say -- when I refer to the
five guys, I'm not trying to exclude the spouses.

If the check was made out to them, ona
couple of them, it was also made out to the spouse?

A. Correct.

OQ. In Jeff's case, it wasn't made out to the spouse.
It was just made out to Jeff?

A. I would think that's wrong.

Q. Was it supposed to have been made out to Jeff and
his spouse?

A. Yes.

Q. Okay. So if it wasn't, that wouldn't be your

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A. That's my recollection.
Q. You didn't have anything to do with setting those
up, did you?
A. No, I did not.
Q. Were you aware that Ron was going to have this

meeting in the North Las Vegas airport with his sons and
these other fellows?

A. My recollection is that Ron, whenever it was, was
going to take checks and distribute them personally. I
don't know of any meetings.

Q. And, again, you hadn't talked to Ron since at
least some six months prior, until he came to you and
wanted these checks cut, correct?

A. I did not speak to him about gifts during that
intervening period.

Q. But he did tell you what the nature of the checks
were, did he not?

A. He did.

Q. And what did he tell you?

A. He told me they were gifts as was the real
estate.

Q. So he mentioned the real estate as well, at that
point?

A. Yes.

Q. With respect to these, did he ask you at that

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time to perform any accountancy work or tax work or
memorialization of these gifts to the five guys?

A. He told me simply to transfer them.

Q. Well, can you explain what you mean "transfer
them"?

A. Transfer ownership of the real estate to the five
guys.

Q. And in what capacity? As gifts?

A. As gifts.

Q. Do you have any personal belief or knowledge as

to why Todd Carriere and Jaime Ziparo and Jeff Bardwell
were added about a month and a half later to this JTU?

A. My recollection is that Mr. Carriere was creating
entities to hold ~- separate entities to hold each of the
parcels of real estate.

JTJ Development already existed, so rather
than creating a new entity for that, I was instructed to
simply use that existing entity and arrange to transfer it
over.

Q. Thanks.

Since you mentioned this, this was kind of
the formation company. Let me ask you about these other
companies and if you're familiar with them or not.

Stellar Development, L.L.C.?

A. No.

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Q. All right. Other than you, are you aware if Ron
Pratte discussed these transfers with any other
professionals, such as lawyers or other CPAs?

A. I believe he transferred -- not transferred --
I'm sorry.

I believe he discussed it with Todd
Carriere,

Q. But he didn't have Todd Carriere prepare the gift
tax return?

A. No.

Q. So I assume at some point when that return had to
be filed, you needed to have a conversation with Ron, as
the donor, about how he wanted these transferred and those
monies to be treated, correct?

A. I think it was black and white. I don't think
that there was a conversation either, no. They were
donations or gifts made. It requires a gift tax return.
And the only gray area there would be the valuation of the
properties, which we did have appraisals for, so

Q. Okay. All right. Thanks.

When you say it was black and white, is that
because Ron Pratte made it clear to you how he wanted
these transfers, these monies and properties to be
treated?

A. He made it clear to me that they were gifts.

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A. Well, the only real -- the prior discussion that

he and I had was when he instructed me to make gifts --
the checks and transfer the properties.

And after I got out of my shock, I said:
Well, that's all well and good, but you got to pay the tax
of about -- approximately half of this. So you're
probably in the range of 15 to $20 million of tax.

And he said: I know.

Q. Okay. So, you know, and basically what you're
telling us is that Ron Pratte had a working knowledge. [It
wouldn't have been anywhere near as detailed or specific
as yours, as a licensed professional, but he had a working
knowledge of tax and how tax works with respect to both
his business and with respect to gifts in this case?

A. Yes, yes.

Q. But you didn't decide of your own volition to
treat any of these transfers, the money or the properties,
as gifts, correct?

A. That is correct.

Q. I mean, that would have specifically come from
Ron Pratte?

A. Yes, sir.

Q. Do you remember when Jeff Bardwell was involved
in a divorce back around 2010?

A. I do recall that.

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QO. Okay. Thanks.
And you prepared this gift tax return based

solely upon information conveyed to you from Mr. Pratte,

correct?
A. That is correct.
Q. And in the return it identifies the properties

and the monies and so forth that Ron Pratte was gifting
away, correct?

A. Yes, sir.

Q. And I will avow to you that Mr. Pratte has
testified that the properties and monies are properly
identified on the schedules appended to this return. And
you would have received that information from Mr. Pratte
in order to finish this return, correct?

A. Mr. Pratte would have told me what the gifts were
and then it would have been up to me to gather the
appraisals and whatnot to -- the appraisals and other
documentation to support the return.

Q. Mr. Shisler, when you were discussing the
preparation of this return with Mr. Pratte, did he
indicate to you in any way that the transfers to Jeff
Bardwell and his spouse were somehow different than those
that were being made to the other gift recipients?

A. No, sir.

MR. COLLINS: Object to the form.

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Go ahead.

Q. BY MR. CONNELLY: And did Mr. Pratte tell you
that he was receiving anything in return for making this
gift to Jeff Bardwell?

A. No, sir.

oO. Did Mr. Pratte ever tell you that in exchange for
this gift to Mr. Bardwell, that Mr. Bardwell agreed to
work for him for his life?

A. No, sir.

Q. Recognizing that you had worked for him for quite
a few years prior to this and based upon your familiarity
with Mr. Pratte and his companies, would it have been
reasonable on your part to have asked Mr. Pratte if he
intended that there be any restrictions on these gifts
when you did the return?

MR. COLLINS: Object to the form.

Go ahead.

THE WITNESS: When Mr. Pratte instructed me
to make the gift, I was surprised by two names on the list
and I did ask him if he was sure; Mr. Bardwell and
Mr. Carriere, if he was sure he wanted to do that. And
his response was: Yes. I want to make them -- as you
call them, the five guys.

Q. BY MR. CONNELLY: And you were surprised by the

names on the list, because, one, they weren't family? I

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August 14, 2020

mean, direct blood, right?

A. Right.

QO. And, two, he was making these transfers as
unconditional gifts to them, and is that really what he
intended? Is that what you were concerned about?

MR. COLLINS: Object to the form.
Go ahead.

THE WITNESS: Well, I simply verified that

‘he wanted to make these as gifts and reminded him or

pointed out to him that he would be paying the gift tax at
roughly half of the amount of the gift or a third amount
of the gift and that was a huge number. To which he
responded: I know.

QO. BY MR. CONNELLY: And so with that response, what
did you do? Based upon that response you received from
your inquiry, what did you do?

A. Facilitated the transfers, drafted the checks for
him to sign and when it came around for tax time, drafted
the returns -- or prepared the returns.

Q. And so it was your clear understanding and this
was based upon your discussion with Mr. Pratte as well as
your direct inquiry of Mr. Pratte, that all five of these
individuals and/or their spouses were receiving these
monies and these later properties as gifts; is that

correct?

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A. That is correct.

Q. To your knowledge, without any contingencies on
them?

A. Correct.

Q. To your recollection, did you, Mr. Shisler, ever
give a copy or provide a copy of the complete gift tax
return to any of the gift recipients?

A. T don't recall.

Q. Do you recall if anybody ever asked you for a
copy of the gift tax return?

A. Mr. Bardwell asked me at one time during his
divorce proceedings for a copy of it and I refused it.

Q. Okay. Do you know why he was asking for that?

Was it him asking or his lawyer, Diana Rader, that wanted

it?

A. I believe he was asking, because his wife's
attorney -- ex-wife's attorney wanted a copy and I said
no.

Q. Okay. And did Jeff explain -- I didn't mean to

interrupt you.

A. I said: No, Mr. Pratte would have to approve
that.

Q. Okay. Did you ask Mr. Pratte to approve it?

A. It wasn't my place to, so no.

Did Mr. Bardwell explain to you why or what the

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Q. Were you surprised to hear it? Go ahead.
A. And it may have been simply when I was subpoenaed

for the deposition.

QO. Okay. Sure.

Were you surprised to hear that there was a
dispute some whatever 12 or 14 years later -- after the
fact?

A. Absolutely.

Q. And why were you surprised by that?

A. Well, what was he -- you called Mr. Bardwell
Ron's adopted son?

Q. Well, I asked if you had ever heard him referred
to that way.

A. But, yeah, it appeared -- I've never heard him
referred to that way. But that seemed to be similar to
what their relationship might have been. So I was shocked
that there was a dispute between the two of them.

Q. So you never heard him referred to that way, but

he treated him as such?

A. Yes, treated him, what I thought, very well.

QO. Well, almost as good if not as well as his own
kids?

A. I don't think he ever quit talking to Jeff for a

period of time. So, yes, probably better than his own

kids.

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QO. Oh, meaning there were periods when he went
without speaking with his own children, but not Jeff?
A. Right.
Q. Would it be your belief that if Mr. Pratte is now

claiming that Jeff Bardwell is still his employee, would
it be your belief that that's inconsistent with
Mr. Pratte's prior representations to you in how to
prepare the 2006 gift tax return?

MR. COLLINS: Object to the form.

MR. COFFMAN: Object to the form.

MR. CONNELLY: We got stereo on that one.

THE WITNESS: JI think it's a question that
you have already asked.

Q. BY MR. CONNELLY: Let me rephrase it. It's a

little bit different.

Ron Pratte's current claim is that Jeff
Bardwell is still his employee, or was at least up until
through the -- you know, when they parted company.

Wouldn't that be inconsistent with the prior
representations that Ron Pratte made to you when he was
directing you on how to prepare the gift tax return?

MR. COLLINS: Object to the form.

Go ahead.

MR. COFFMAN; Object to form.

THE WITNESS: The gift tax return in all

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representations that I know of was that Jeff was not an
employee.

MR. CONNELLY: Can we take a break? Are you
okay with a break?

THE WITNESS: That's a good idea.

MR. CONNELLY: How much time would you like?

THE WITNESS: Five, ten minutes, whatever
you want.

MR. CONNELLY: I think five or ten is fine.
Tt's a little early, but, you know, there are areas here
that I'm not sure that we need to take your time on, and I
don't know if anybody is going to argue with that. So if
we're able to take a brief break, we can move on and see
if Greg has questions for you.

(A recess was taken.)

QO. BY MR. CONNELLY: We're back on the record.

Let me ask this, I guess, more of a question
to your professional opinion, but I think that you would
clearly be qualified to answer this.

The gift tax return was prepared and filed
in this case, was it not?

A. Yes, it was.
Q. And that's the 2006 gift tax return and that
would constitute a completed gift at that stage, would it

not?

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A. Correct.
QO. And so at some point, you testified -- let me
back up.
After you had this discussion in mid 2005,
did you discuss gifts with him again or estate planning

with him again until he gave you this list that you talked

about?
A. Not that I recall.
Q. Okay. And I don't really have it in my notes how

this played out, but you testified earlier that there was
a list that you were given. And at some point you were
also directed to generate checks, right?

A. Oh, it was a combined action, but yes.

Q. Okay. Walk me through that. What do you
remember about that?

A, Mr. Pratte came into my office, had a list of
donees and dollar amounts and said: Create these checks,
make these gifts.

And all of the real estate, we probably
talked about, which parcels of real estate are also going
to go to this group of individuals, arrange for that
transfer to happen.

QO. Okay.

A. Which I said: You're going to incur a huge

amount of gift tax.

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Q. That conversation, at this point, is over
15 years ago, right?

A. Correct.

Q. Okay. You understand that whether or not
Mr. Pratte intended this to be a gift, that's an important
issue in this lawsuit? You understand that, right?

A. I do understand that.

Q. Okay. And all memories fade over time. You'd
agree with me there, correct?

A. Yes.

Q. Okay. And at least for my memory, sometimes I
remember the broad strokes of what happened, but I don't
necessarily remember quotes, I don't necessarily remember
exactly what was said. The same for you?

A. In many conversations, that's true.

Q. Okay. In this conversation you just testified
that Mr. Pratte came in and said: Make these gifts?

A. Correct.

Q. Is it possible that Mr. Pratte said something
along the lines of: Make these payments?

And he never used the word "gift" at all
during that conversation?

A. No, I don't believe that could be.

Q. Why do you say that?

A. Because I was actually surprised by the magnitude

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of the gifts, and why he wanted to do them, and why he was
willing to pay an extra $16 million or so to make gifts.

And, again, I mentioned to him, the
magnitude of the taxes and he was fine with that.

Q. Okay.

A. So, in my mind and my recollection, there's no
question he intended to do that.

Q. I understand that.

My question to you is whether or not he used
the word "gift" when he told you to make these payments
and asset transfers? And do you have a specific
recollection, as you sit here today, that 15 years ago,
Mr. Pratte used the word "gift" when he said: To make
these asset transfers and draw up these checks?

A. Yes, he would have used the word "gifts."

Q. When he said that, did you ask him whether he
wanted to make a gift to all of these individuals on the
list?

A. Yes, I did.

Q. What did you ask him?

A. I said: Gifts to all of these people?

Basically, I didn't even know who Jeff
Bardwell was at that point, I don't think.

Q. Okay.

A. And I was a little surprised by Todd Carriere,

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too.
Q. And what did he say?
A. He said: Yes.
Q. Okay. Did you explain to Mr. Pratte at that time

the difference between making a gift to someone versus
paying them compensation for future services?
A. The only person that would have qualified to be

an employee of that group would have been Mr. Bardwell.
And I'm positive that I told Mr. Pratte that

he would owe less tax if he could pay Mr. Bardwell's, and

Mr. Carriere's too, actually, amounts as payroll. That

would shift the tax liability to the individuals from

Mr. Pratte.

Q. When you say that you're positive that you told
him that, that would have been good advice to give to one
of your clients, but you're actually positive, as you sit
here today, that you had that discussion with him 15 years
ago?

A. Yes. I mean, that was a very memorable event.

Q. Okay. The people on the list, do you remember
who was on the list?

A. I do. The three children and their spouses,
Mr. and Mrs. Todd Carriere, and Mr. and Mrs. Jeff
Bardwell.

Q. So you remember that Mr. Pratte had on the list

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A. Correct.

Q. But it was not included, as I understand your
testimony, because it was clear to you, based upon
Mr. Pratte's intentions, that these were to be outright
unconditional gifts to the five individuals, correct?

A. Yes.

MR. CONNELLY: I don't have any -- do you
want to ask follow-up on that?

MR. COLLINS: No, we're good.

MR. CONNELLY: I'm going to call you, Bill.
I feel like we should go to dinner. You've been very
gracious, very patient. You too, Sam. And thanks for
bearing with us.

When you're not the one trying to correct an
audio or video issue, it feels like, you know, hey, if I
was there, I could fix this pretty quick. You guys were
very patient with us.

We actually finished this thing honestly a
couple hours sooner than we thought and we're all happy
about that. Especially for you, but we certainly
appreciate it as well.

THE WITNESS: It's been a challenge for
Anita as well.

MR. CONNELLY: You know what, it has.

That's very nice of you to remember her.

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EXHIBIT 3
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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF ARTZONA

Ronald H. Pratte,

)
)
Plaintif €, )
)

vs. )} No.
) 2:19-cv-00239-
Jeffrey Bardwell and Fanny F. PHX-GMS

Bardwell, husband and wife,

Defendants.

DEPOSTTION OF RONALD PRATTE

(Volume TI Pages 1 through 83)

Scottsdale, Arizona
August 10, 2020
1:00 p.m.

REPORTED BY:

ANITA LANDEROS, RPR
Certified Reporter
Certificate No. 50538

PREPARED FOR:

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August 10, 2020 .

A. Controller.
QO. Controller.
And how many people did you employ at that

time when you first hired Bill, roughly? I mean, 100?

1,000 or --
A. Three or 400.
Q. Okay. And tell me about Bill? Do you think that

he's professional, knowledgeable, knows what he's doing?

A. Very knowledgeable.

Q. Okay. And did you trust him implicitly?

A. Absolutely.

Q. You've given him a power of attorney in the past

to handle your financial matters?

A. I have.

oO. Both with the IRS and in other respects?

A. I don't remember specifically what they were for.
Q. Okay. But you had enough trust that you'd given

him the power of attorney to handle things?

A. That's correct.

Q. If you gave him that power of attorney, he still
kept in touch with you, informed you, and discussed things
with you, did he not?

A. Most of the time.

Q. Okay. And when he worked for you, where was his

office primarily? And let's say in the first decade that

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he worked for you.
A. It was in my office.
Q. Which was where? I know that you traveled all of
the time. Obviously, he probably didn't.
A. 3207 South 51st Avenue.
Q. Okay. So he was at the lumberyard or the
building construction office?
‘A« Yes.
Q. Okay. Did he ever work out of Las Vegas or out
of Nevada, let me put it that way?
A. He went there from time to time.
Q. Okay. Was he the CFO -- as your business grew,
was he the overall CFO for all locations and offices?
A. He was.
Q. And at some point you entered a partnership with

Pulte Homes, correct?

A. That's correct.

Q. About what year was that, roughly?

A. I think it was 2002.

Q. Okay. Did he remain CFO over the joint venture?
A. I think he did.

Q. Okay. So he was knowledgeable about that

partnership and the transaction between you and Pulte
Homes?

A. Yes, he was.

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A. If I did, I don't remember. I don't know why I

would have reason to discuss this with him.

oO. Fair enough.

So you didn't discuss your intent, the tax
return or anything with Earl Secore since your deposition
at the end of February?

A. Only to ask him if he had a copy of the tax
return that you guys were looking for.

Q. Okay. All right. Have you discussed your prior
testimony or the gift tax return and some of the questions
with Todd Carriere since your last deposition?

A. No.

Q. Okay. Have you spoke or otherwise communicated
with Mr. Shisler at any time in the past year?

A. No.

Other than your counsel, have you asked anybody
else to relay a message or communicate with Mr. Shisler on

your behalf?

A, Absolutely not.

Q. Has Mr. Shisler tried to contact you?

A. Absolutely not.

QO. Okay. After this deposition, do you intend to

reach out to him for any reason?
A. Absolutely not.

Q. Okay. Okay. So let me ask you, what did you

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tell Mr. Shisler about your decision to give away some of
these monies and property?

A. I don't remember what I told him. That was
15 years ago.

QO. Well, well, okay.

Okay. At some point, you decided that you
were going to give monies and properties to five
individuals and their spouses, correct?

A. That's correct.
Q. And that would have been the gifting ceremony, as

I'll call it, was at the end of December of 2005, correct?

A. Correct.

Q. That was at the North Las Vegas airport?

A. Right.

oO. You called the meeting?

A. Right.

Q. You actually flew your own plane or had somebody

fly your own plane up there with Justin, Jeff and
yourself. And the other three met you at the airport
because they lived in Vegas; is that correct?

A. That is correct.

Q. “Okay. And before you went to that meeting, you
had five separate cashier's checks issued, right?

A. That's correct.

QO. And what was the amount cf each check?

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about this, okay. But I do remember telling Shisler that

Bardwell was going to work for me until I die.

Q.

A.

BY MR. MARLOWE: Okay.

That was the only reason that he was included in

the group.

Q.

A.

Q.

And that's the only reason?
Yes, sir.

Let me ask you a question here. Why didn't you

just pay Bardwell whatever, half a million, a milliona

year to work for you the rest of your life?

A.

Q.

I ask my -- question that every day.

Well, how about you answer it? Why didn't you

just do it that way?

A.

Q.

I wish I would have.

Okay. Why did you decide to include Bardwell

with the other four people?

A.

Because I was trying to treat him like the other

four people.

Like one of your family?

Like the other four people and this is what I get

You treated the other four people as your family,

They are my family.

And you treated Jeff the same as your family,

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would take care of whatever was involved in getting that

done.
Q. You're the donor, correct?
A. "The donor"?
Q. Yes. You're the person giving the gift,

completing the gift, signing the gift tax return. You're
the donor, right?

A. That's correct.

Q. Okay. This is your answer, which I'll tell
you -- or I will represent to you is verified and under
oath when you do these. It's the same as your testimony
here today.

It says: William Shisler to carry out your
wishes with respect to the conveyances. And my question
is very simple. That's saying that you conveyed your
wishes to Shisler. I'm asking you what did you
specifically tell Shisler?

MR. COLLINS: Objection, form.

The question is: What did you tell Shisler?
Answer that question.

THE WITNESS: I think I already answered it.
I told Shisler that I was giving each guy -- the five guys
$2 million and I was giving them the commercial properties
that I owned and they were going to go set up a business

and build houses and commercial buildings, et cetera.

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Q. BY MR. MARLOWE: And it's your testimony that you
told him Bardwell was different?
A. I think I told him that Bardwell had agreed to
work for me for the rest of my life.
Q Are you sure?
A I'm as sure as I can be after 15 years.
Q. Well, this answer was done nine months ago.
A Okay. But it still happened 15 years ago.
0 So you might not remember accurately; is that
fair?
A That's very fair.
Q. Okay. If you go down on that same page, Page 3.
A Okay.
QO. It starts on Line 13, at the end, "Rather."

First word in the sentence on Line 13 is "Rather."

A. Okay .
Q. Read that sentence to me.
A. Rather, Mr. Pratte acknowledges that his

accountant provided privileged advice with respect to the
tax matters referenced (sic) to herein but does not intend
to divulge the substance of any advice.

Q. Okay. Earlier today you acknowledged that you're
waiving that privilege. So my question is: What is the
privileged advice Mr. Shisler provided you?

A. I have no idea. I have no memory of that.

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QO. Okay. Ever?

A, I would assume that he would have, but I don't
remember specifically if he did.

Q. Okay. And you have nothing -- no reason to
believe that your memory was particularly better in
November of 2019 than it is today?

A. I do not.

Q. Okay. Did you discuss payment of the gift tax to
the Internal Revenue Service with the five guys?

A. I think I recall telling them that I was paying

the tax on the gift on the monies that they were getting.
Q. Okay. So you didn't negotiate with them or
bargain with them; you just told them: I'm transferring
these properties and I'm paying the gift tax; is that
correct?
A. That's correct.
MR. MARLOWE: If you can hand him back
Exhibit 4 real quick, Greg.
MR. COLLINS: Yes.
Q. BY MR. MARLOWE: And, Mr. Pratte, I'm just asking
you beginning on RHP12, and that would be the number on

the bottom right-hand corner. Let me know when you're

there.
A. I'm there.
QO. Okay. Just take a quick minute, if you will, to

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What?
T£ you know?

I don't know.

o > O >

Okay. If you go down a couple of lines, does it
tell you what the total tax was on Line 17?

A. 16,544,660.

Q. Do you remember paying the gift tax or the amount
of the gift tax, having that discussion with Mr. Shisler?

A. I don't remember.

Q. Have you routinely issued checks to the IRS that
were in excess of $8 or 10 million?

A, Every year.

Q. Okay. Have you, at any time, provided any
amendments or notice to the IRS that Jeff Bardwell was
somehow different than the other four?

A. Not to my knowledge.

Q. Anyone suggest to you that you should inform the
IRS that Bardwell was somehow to be treated differently?

A. Not to my knowledge.

Q. So let me try to sum up some bullet point facts
and try to wrap this up.

You chose to pay the gift tax to the IRS.
You didn't have any discussions with anyone, including the
recipients; you made the decision to pay it, correct?

A. I did.

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the speaker. Hold on. All right. Go ask it again.
Q. BY MR. MARLOWE: In Exhibit 5 you indicated that

Mr. Shisler was completing the returns in fulfillment of
your wishes, right?

MR. COLLINS: Object to the form.

Go ahead.

THE WITNESS: I didn't say: Bill, you need
to fill out a gift tax return.

All I did is tell him what the deal was.
How he got the paperwork there, that's his thing. I had
nothing to do with any of that.

QO. BY MR. MARLOWE: So when he handed it to you, did
you say: Bill, why is Bardwell being gifted like the
other four?

A. I did not.

Q. Okay. And you're positive that you told Shisler
that Bardwell was different?

A. Absolutely.

Q. Why do you remember that as opposed to everything
else that happened that you don't seem to recall?

A. Because it's the truth and that's how the whole
thing was put together. And I know that, and you know
that, and Bardwell knows that.

Q. Okay. Let's go back to what I'm asking, which

is, you told Shisler that Bardwell was different before he

ANITA LANDEROS REPORTING, INC.
(602) 230-8793
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Pratte v. Bardwell, Case No.: 2:19-cv-00239-PHX-GMS
EXHIBIT 4
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4250 NORTH DRINKWATER BOULEVARD

FOURTH FLOOR
SCOTTSDALE, ARIZONA 85251-3693

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Brian M. Flaherty, #023207
Brian.Flaherty@sackstierney.com
SACKS TIERNEY P.A.

4250 N. Drinkwater Blvd., 4th Floor
Scottsdale, AZ 85251-3693
Telephone: 480.425.2600

Attorneys for Plaintiff Ronald H. Pratte

SUPERIOR COURT OF ARIZONA

MARICOPA COUNTY
RONALD H. PRATTE,
Plaintiff, No. CV 2018-015092
v. COMPLAINT

JEFFREY BARDWELL and FANNY
¥. BARDWELL, husband and wife,
AFFILIATES I-X,

Defendants,

~ For his Complaint, Ronald H. Pratte ("Pratte") alleges as follows:

1. Plaintiff is an individual who resides in Maricopa County, Arizona.

2. Defendant Jeffrey Bardwell is a married man who resides in Arizona and
California and does business in Arizona. All acts by Defendant Jeffrey Bardwell alleged
herein are done on behalf of the marital community existing between him and Fanny F.
Bardwell.

3. Fanny F'. Bardwell is the wife of Jeffrey Bardwell and also resides in Arizona
and California.

4, Defendant Affiliates 1-X are presently unknown to Plaintiff and are therefore
identified by such fictitious names, to be more specifically identified upon amendment of
this Complaint when their true names and capacities have been ascertained.

5, Defendant Jeffrey Bardwell caused events to occur in Maricopa County,

Asizona which form the basis of this Complaint.

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6. This Court has jurisdiction over this matter and venue is proper before this
Court.
GENERAL ALLEGATIONS
7. In December 2005, Plaintiff and Jeffrey Bardwell entered into an agreement

wherein Plaintiff would pay Jeffrey Bardwell cash and real property in consideration for
Jeffrey Bardwell agreeing to work for the Plaintiff until either man died.
8, Jeffrey Bardwell promised the Plaintiff that he would continue providing

services to the Piaintiff until one of them died and Plaintiff relied on this promise when he

paid Jeffrey Bardwell.
9, Jeffrey Bardwell intended Plaintiff to rely on his promise.
10. Plaintiff reasonably relied on Jeffrey Bardwell’s promise.

It. Plaintiff initially paid Jeffrey Bardwell and his wife $2.0 million in cash.

12. Plaintiff also transferred to Jeffrey Bardwell and his wife an interest in three
real estate parcels located in Nevada and Arizona on April 1, 2006.

13. Plaintiff also paid taxes on behalf of Jeffrey Bardwell and his wife.

14. Plaintiff enriched Jeffrey Bardwell and his wife in the total amount of
$10,624,200.

15. From 2006 until March 2018, Jeffrey Bardwell managed the Plaintiff's
properties, handled insurance issues for Plaintiff's vehicles and provided labor on
Plaintiff's properties.

J6. In March 2018, Jeffrey Bardwell ceased communicating with the Plaintiff
and stopped working for Plaintiff.

17, Prior to filing this action, Plaintiff demanded Jeffrey Bardwell return the
value of the property he received from the Plaintiff. Jeffrey Bardwell rejected the offer.

COUNT ONE
(Breach of Contract)
18. The allegations contained in paragraphs 1-17 are incorporated herein as if

fuily restated.

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19. Under the oral agreement, Jeffrey Bardwell was contractually obligated to the
Plaintiff.

20. Defendant performed his obligations in accordance with the contract from
2006 until March 2018.

21, Defendant Jeffrey Bardwell has breached his obligations under the contract.

22. As a result of Defendant’s breach, Plaintiff has been damaged.
COUNT TWO
(Promissory Estoppel)

23. The allegations contained in paragraphs 1-22 are incorporated herein as if
fully restated.

24. Jeffrey Bardwell promised to continue providing services to the Plaintiff until
one of them was dead.

25. It was reasonably foreseeable to Jeffrey Bardwell that Plaintiff would rely on
that promise.

26. Plaintiff justifiably relied upon the promise.

27. Plaintiff incurred loss as the result of his reliance on Jeffrey Bardwell’s
promise.
COUNT THREE
(Unjust Enrichment)
28. The allegations contained in paragraphs 1-27 are incorporated herein as if

fully restated.

29. Defendants’ acts alleged herein caused Defendants to be unjustly enriched
and Plaintiff to be unjustly impoverished.
30. Defendants’ unjust enrichment and Plaintiff's unjust impoverishment are

connected and are the direct result of Defendant Jeffery Bardwell’s wrongful acts described

herein.

31. There is no justification for the enrichment of Defendants and the

impoverishment of Plaintiff.

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32. The acceptance and retention by Defendants of the funds paid by Plaintiff is
inequitable without Defendants repaying Plaintiff the amounts of principal and interest
Plaintiff previously paid Jeffrey Bardwell.

33. If Plaintiff is not successful on his other claims for relief, Plaintiff will have
no other remedy at law.

34. As a result of the unjust enrichment, Plaintiff has been injured and is entitled
to an award of damages and/or other relief as determined in this action.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment as follows:

A. _ For contractual damages in an amount to be proven at trial, plus interest at the
statutory rate;

B. In the alternative to A, compensation to Plaintiff for the reasonable value of
any benefits conferred upon Defendants as a result of Plaintiff's justifiable reliance;

C. For reasonable costs and attorneys’ fees incurred herein in accordance with
ARS. §12-341.01;

D. For such further relief as the Court deems just and proper;

E. A jury trial is requested.

DATED this \o tL day of December, 2018.

SACKS TIERNEY P.A.

By: _\ 7}

Briagt WM Flaherty”
Attomeys\for Plaintiff Ronald H. Pratte

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SACKS TIERNEY bia.. arrorneys

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Brian M. Flaherty, #023207
Brian.Flaherty@sackstierney.com
SACKS TIE Y PAA.

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Telephone: 480.425.2600

Attorneys for Plaintiff Ronald H. Pratte

SUPERIOR COURT OF ARIZONA

MARICOPA COUNTY
RONALD H. PRATTE,
Plaintiff, No. CY¥2018-015092
v. SUMMONS

JEFFREY BARDWELL and FANNY F.
BARDWELL, husband and wife,
AFFILIATES I-X,

if you would like lagal advice from a lawyer,
coniact the Lawyer Referral Service at
902-25 74434.
Defendants. ot
wwe maricopalawyers, org
Sponsored by the
Maricopa County Bar Association

WARNING: This is an official document from the court that affects
your rights. Read this carefully. If you do not understand it, contact
a lawyer for help.

THE STATE OF ARIZONA TO DEFENDANTS:
Jeffrey Bardwell and Fanny F. Bardwell

A lawsuit has been filed against you. A copy of the lawsuit and other court papers
are served on you with this “Summons”.

YOU ARE HEREBY SUMMONED and required to appear and defend, within the
time applicable, in this action in this Court. If served within Arizona, you shall appear and
defend within 20 days after the service of the Summons and Complaint upon you, exclusive
of the day of service. If served out of the State of Arizona--whether by direct service, by
registered or certified mail, or by publication--you shall appear and defend within 30 days
after the service of the summons and complaint upon you 1s complete, exclusive of the day
of service. Where process is served upon the Arizona Director of Insurance as an insurer's
attorney to receive service of legal process against it in this state, the insurer shall not be
required to appear, answer or plead until expiration of 40 days after date of such service
upon the Director. Service by registered or certified mail without the State of Arizona is
complete 30 days after the date of receipt by the party being served. Service by publication

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4250 NORTH DRINKWATER BOULEVARD

SACKS TIERNEY p.a., ATTORNEYS

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is complete 30 days after the date of first publication. Direct service is complete when
made. Service upon the Arizona Motor Vehicle Superintendent is complete 30 days after
filing the affidavit of compliance and return receipt or officer's return. A.R.C.P. 4; A.R.S.
§§ 20-222, 28-502, 28-503.

YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
within the time applicable, judgment by default may be rendered against you for the relief
demanded in the complaint.

YOU ARE CAUTIONED that in order to appear and defend, you must file an
answer or proper response in writing with the clerk of this court, located at Office of Clerk
of the Superior Court, 201 West Jefferson Street, Phoenix, AZ 85003-2205,
accompanied by the necessary filing fee, within the time required, and you are required to
serve a copy of any answer or response upon the Plaintiffs attorney. A.R.C.P. 10(d);
A.R.S. §12-311; A.R-C.P. 5,

The name and address of Plaintiff's attorney is:

Brian M. Flaherty, Esq.
Sacks Tierney P.A.
4250 N. Drinkwater Bivd., Fourth Floor
Scottsdale, AZ 85251

Requests for reasonable accommodation for persons with disabilities must be made
to the office of the judge or commissioner assigned to the case, at least ten (10) judicial
days before your scheduled court date

Requests for an interpreter for persons with limited-English-proficiency--must—be-|--
made to the office of the judge or commissioner assigned to the case at least ten (10)
judicial days in advance of your scheduled court date

SIGNED AND SEALED this date:
CHRIS DEROSE

CLERK OF TEE OPYO®!

By: ats Det 1 0 2018

CHRIS DEROSE, CLERK
A HATCH
DEPUTY CLERK

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Pratte v. Bardwell, Case No.: 2:19-cv-00239-PHX-GMS
EXHIBIT 5
Keresmar & Feltus PLLC
7150 East Camelback Road, Suite 285

Scottsdale, Arizona 85251

(480) 421-1001

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Gregory B. Collins (#023158)

Zach R. Fort (#031643)

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Telephone: (480) 421-1001

Facsimile: (480) 421-1002
ebc@kflawaz.com

arf@kflawaz.com.

Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Ronald H. Pratte, Case No. 2:19-cv-00239-PHX-GMS
Plaintiff PLAINTIFF’S THIRD AMENDED
, MANDATORY INITIAL DISCOVERY
vs RESPONSES

Jeffrey Bardwell and Fanny F. Bardwell,
husband and wife,

Defendants.

Pursuant to the Mandatory Initial Discovery Pilot project approved by the
Judicial Conference of the United States, Plaintiff, Ronald H. Pratte (‘‘Pratte”),
hereby submits his third amended responses to the Court-issued discovery requests.
These responses are made based on the information reasonably available to Pratte as
of the date hereof. At this stage in the litigation, Pratte has not identified all
individuals and documents possibly relevant to this lawsuit. Pratte reserves the right
to supplement these responses and to rely on information not identified herein but
subsequently produced in discovery. In addition, Pratte does not waive his right to
object to the production of material disclosed herein on the basis of any privilege, the

work-product doctrine, or any other valid objection.

Keresmar & Feltus PLLC
7150 East Camelback Road, Suite 285

Scottsdale, Arizona $5251

(480) 421-1001

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1. Name, Address, and Telephone Number of Persons Likely to Have
Discoverable Information Relevant to Any Party’s Claims or Defenses

l. Ronald H. Pratte (Ron Pratte or Plaintiff)
c/o Gregory B. Collins
Kercsmar & Feltus PLLC
4250 N. Drinkwater Blvd., Fourth Floor
Scottsdale, AZ 85251

Ronald H. Pratte is the Plaintiff mn this case and is aware of the offer he made
to Jeffery Bardwell, Bardwell’s acceptance of the offer and the consideration
Plaintiff paid to Bardwell. Plaintiff also has information regarding Bardwell’s breach
of contract and the amount of time Bardwell actually spent working in accordance
with his agreement with Plaintiff.

Plaintiff has information regarding Bardwell’s acknowledgment of their
agreement, Bardwell’s communications with others acknowledging the agreement,
and Plaintiff’s damages in this case.

He is expected to testify consistent with his deposition in this matter.

2. Jeffery Bardwell

c/o Thomas J. Marlowe, Esq.

Law Offices of Thomas J. Marlowe
2425 East Camelback Road, Suite 880
Phoenix, Arizona 85016

Jeffrey Bardwell is a Defendant in this case and is expected to provide
testimony consistent with his Answer and his disclosures to-date.

He ts expected to testify consistent with his deposition in this matter.

3. Fabiola Bardwell

c/o Thomas J. Marlowe, Esq.

Law Offices of Thomas J. Marlowe
2425 East Camelback Road, Suite 880
Phoenix, Arizona 85016

Fabiola Bardwell is a Defendant in this case and Jeffery Bardwell’s spouse.
Mrs. Bardwell is expected to testify regarding her understanding of the agreement

between Mr. Pratte and Mr. Bardwell.

Kercsmar & Feltus PLLC
7150 East Camelback Road, Suite 285

Scottsdale, Arizona 85251

(480) 421-1001

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4, Justin Pratte

5310 East Calle Ventura
Phoenix, AZ 85018
602-617-8765

Justin Pratte has information regarding the agreement Bardwell made with the
Plaintiff to work for Plaintiff for life. He is expected to testify consistently with his
written statement.

In addition, he has information related to Mr. Bardwell’s initial hiring in
approximately 2002 and his working relationship with Mr. Bardwell at the Pratte
Building Systems lumber yard in Phoenix.

Justin Pratte has information regarding conversations he had with Mr.
Bardwell after Ron Pratte made his offer of lifetime employment to Mr. Bardwell in
exchange for the compensation that is the subject of the Complaint. In those
conversations, Justin Pratte cautioned Mr. Bardwell to consider the extent of the
commitment before he accepted.

Justin Pratte has information regarding Mr. Bardwell’s work description for
Ron Pratte after accepting the offer for lifetime employment.

Justin Pratte also has information regarding a phone conversation he had with
Mr. Bardwell immediately following Mr. Bardwell’s decision to quit his
employment with Ron Pratte and his reasons for quitting.

He is expected to testify consistent with his deposition in this matter.

5. Todd Carriere

541 East Spur Avenue
Gilbert, AZ 85296
602-370-5742

Todd Carriere has information regarding the agreement Bardwell made with
Plaintiff to work for Plaintiff for life. He is expected to testify consistently with his
written statement.

In addition, he has information regarding working with Mr. Bardwell while

Mr. Carriere worked at the Pratte Building Systems lumber yard in Las Vegas,

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Nevada.

Mr. Carriere has information regarding Stellar Development and Mr.
Bardwell’s involvement with Stellar Development.

Mr. Carriere also has information about a hunting trip on which Mr. Bardwell
discussed his working relationship with Ron Pratte and Mr. Bardwell’s belief that
Ron Pratte expected Mr. Bardwell to work for him for the rest of Ron Pratte’s life.

Mr. Carriere is a certified public accountant. Relying on his knowledge and
experience as a CPA, it is also expected that Mr. Carriere will testify about certain
tax issues that have come up in this matter, including the tax treatment of Ron
Pratte’s payment to Mr. Bardwell.

He is expected to testify consistent with his deposition in this matter.

6. Jaime Ziparo
7 Meadow Drive
Fayetteville, NY 13066
602-615-8752

Jaime Ziparo has information regarding the agreement Bardwell made with
Plaintiff to work for Plaintiff for life. He is expected to testify consistently with his
written statement.

In addition, Mr. Ziparo has information regarding his own experiences
working for Ron Pratte in a role similar to the one undertaken by Mr. Bardwell. He
also has information regarding Mr. Bardwell’s work responsibilities during the time
he worked for Ron Pratte following entering the employment contract for life.

Mr. Ziparo has information regarding conversations with Mr. Bardwell at and
around the time Ron Pratte distributed checks following Mr. Bardwell’s acceptance
of the contract that is the subject of this lawsuit.

Mr. Ziparo has information regarding conversations he had with Mr. Bardwell
after Ron Pratte made his offer of lifetime employment to Mr. Bardwell in exchange
for the compensation that is the subject of the Complaint. In those conversations, he

advised Mr. Bardwell to carefully consider the ramifications of accepting the offer.

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He is expected to testify consistent with his deposition in this matter.

7. Maria Jennifer Recendez

1901 E. Tulsa St.
Chandler, AZ $5225
480-415-4018

Ms. Recendez was formerly married to Bardwell and is expected to have
knowledge regarding the agreement between Bardwell and Plaintiff.
She is expected to testify consistent with his deposition in this matter.

8. Daryl Wolfswinkle
9180 South Kyrene Rd., Suite 112
Tempe, AZ 85284
480-226-9361

Daryl Wolfswinkle spoke to Bardwell regularly for many years and Bardwell
explained to him the deal between him and Plaintiff. He is expected to testify that
Bardwell told him that he expected to work for Pratte for the rest of Pratte's life.

He is expected to testify consistent with his deposition in this matter.

9. Larry Yonker
706 North Evergreen St.
Gilbert, AZ 85233
480-226-9361

Larry Yonker was a friend and neighbor of Bardwell for many years and is
expected to testify that Bardwell told him on several occasions what his agreement
was with the Plaintiff. Mr. Yonker spent time at both Stellar Airpark and the Dunes
with both Ron Pratte and Bardwell. He and Bardwell had a close friendship
through their time spent together at those locations. Bardwell repeatedly told Mr.
Yonker that his agreement with Ron Pratte is that Bardwell would work for Ron
Pratte “for life.” In March 2018, when Bardwell left his employment with Ron
Pratte, Ron Pratte sent several emails to Bardwell trying to clarify the matter and
seemingly to reconcile. Bardwell forwarded these emails to Mr. Yonker, suggesting

Mr. Yonker’s understanding of the contract between Bardwell and Ron Pratte.

Mr. Yonker is expected to testify consistent with his deposition in this

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matter.

10.

Jeff Abendschein
Address currently unknown
602-315-2060

Jeff Abendschein was a friend and neighbor of Bardwell. Bardwell previously

spoke to Abendschein about his agreement with the Plaintiff.

Mr. Abendschein is expected to testify consistent with his deposition in this

matter.

II. Name, Address and Telephone Number of Persons Who Have Given
Written or Recorded Statements Relevant to Any Party’s Claims or
Defenses.

1.

Justin Pratte

5310 East Calle Ventura
Phoenix, AZ 85018
602-617-8765

Todd Carriere

541 East Spur Avenue
Gilbert, AZ 85296
602-370-5742

. Jaime Ziparo

7 Meadow Drive
Fayetteville, NY 13066
602-615-8752

III. Documents, ESI, Tangible Things, Land, or Other Property Known to
Exist that may be Relevant to Any Party’s Claims or Defenses

1.
2.
3.
4,

Written statement by Justin Pratte
Written statement by Todd Carriere
Written statement by Jaime Ziparo

Redacted 2006 tax return from Ronald Pratte with appraisal

information and distribution information.

5.
6.

Defendants’ Wells Fargo Account Portfolio Documents

Plaintiff is unaware of any ESI that would be relevant to any claims or

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defenses.

7. Every document disclosed by any party in this litigation.

&. Every document disclosed by third parties in response to a subpoena
or voluntarily provided.

9. Jeffrey Bardwell’s emails disclosed in this case.

IV. Statement of Facts Relevant to Claims and Defenses, and the Legal
Theories upon which They are Based

1. Factual Basis for Claims

The origin of the parties’ unequivocal agreement dates back to December
2005, when Mr. Pratte gathered Mr. Bardwell, Jaime Zipare, Justin Pratte, Todd
Carriere, and Trevor Pratte for a meeting at a North Las Vegas airport. There, Mr.
Pratte told the attendees that he was planning to sell his company, and that he wanted
his family members in attendance to join in a new venture that would develop land
and build homes in Arizona. Mr. Bardwell was the only attendee who was not
connected to Mr. Pratte by family relation, and Mr. Pratte made clear to each
attendee, including Mr. Bardwell, that Mr. Bardwell’s role would be different: in
exchange for the exorbitant payment Mr. Pratte was offering, Mr. Bardwell would
agree to work for Mr. Pratte so long as Mr. Pratte was alive. At that time, Mr. Pratte
handed each attendee, including Mr. Bardwell, a sizable check. Mr. Bardwell
accepted the check with full knowledge of Mr. Pratte’s expectations.

To the extent there was any misunderstanding or confusion, Mr. Pratte
gathered the same group for a meeting around on or around January 2006, where he
reiterated his intentions for each of them going forward. Again, Mr. Pratte reiterated
that Mr. Bardwell would not be affiliated with the new venture to be pursued by Mr.
Pratte’s family members. Instead, Mr. Pratte made clear, once again, that Mr.
Bardwell’s exorbitant compensation was in exchange for Mr. Bardwell’s promise to
work for Mr. Pratte until Mr. Pratte passed away. The family members discussed

certain expenses that they would cover for Mr. Bardwell, and the location of his

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office was even discussed. Mr. Bardwell knew precisely the terms of his agreement
with Mr. Pratte, and he even went so far as to affirm his commitment to performing
under the agreement in a conversation with Justin Pratte shortly thereafter.

Mr. Bardwell commenced performance, and he worked for Mr. Pratte under
the terms of their explicit agreement for twelve years. During that time, Mr.
Bardwell never received a paycheck — he understood that he had received an up-front
payment in excess of $10,000,000 that was far greater than any amount he could earn
with traditional employment. After all, this was not an employment agreement; it
was a well-defined contract between two sophisticated, well-informed parties: Mr.
Pratte would pay Mr. Bardwell more than $10,000,000, and in return, Mr. Bardwell
would work for Mr. Pratte until Mr. Pratte died. Mr. Bardwell never asked Mr. Pratte
for a paycheck. The terms of his employment were non-traditional, and he affirmed
his understanding of that agreement every day he showed up to work for Mr. Pratte
without demanding any additional compensation.

Specifically, Ron Pratte gave Mr. Bardwell a $2,000,000 check at a meeting
in late December 2005. Mr. Bardwell described this check as a “signing bonus”
when showing the check to his friend and neighbor, Jeff Abendschein. Mr. Pratte
also transferred several properties to a group consisting of Mr. Bardwell, Jaime
Ziparo, Justin Pratte, Todd Carriere, and Trevor Pratte. This group set up various
companies to receive each of several properties. Ron Pratte had no input into how
the companies were set up or which property went to which company. Instead,
either William Shisler and/or the law firm Sacks Tierney set up the companies
Pratte Companies, LLC, Pratte Construction, LLC, Pratte Residential, LLC (later
Stellar Residential, LLC), BCPPZ Land Holdings, LLC, Pratte Lone Mountain
Property, L.L.C., and Pratte Buckeye Property, LLC.

Ron Pratte transferred properties into the various entities. He transferred
via quit claim deed a property located at 600 N. 94th Ave, Tolleson, Arizona. This
property was appraised on July 27, 2006 for $14,790,000 and was transferred to a

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Scottsdale, Arizona 85251

(480) 421-1001

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Pratte Land Holdings, LLC, a company in which Mr. Bardwell owned 20%. Mr.
Pratte also transferred via quit claim deed a property located in Buckeye, Arizona.
This property was appraised on October 12, 2006 for $3,798,000 and was transfer
to Pratte Buckeye Property, LLC, a company in which Mr. Bardwell owned 20%,
Mr. Pratte also transferred via quit claim deed a property located at 2900 E. Lone
Mountain Read, North Las Vegas, Nevada. This property was appraised on May
1, 2006 for $8,100,000.00 and was transferred to a Pratte Loan Mountain, LLC, a
company in which Mr. Bardwell owned 20%.

In addition to these transfers, Ron Pratte paid the taxes on all of the assets
he paid to Mr. Bardwell. The taxes for just Mr. Bardwell’s payment was
$3,378,092.00.

At times, Mr. Bardwell complained about aspects of his ongoing obligations
to Mr. Pratte. Mr. Bardwell complained about working at the dunes, he expressed
dissatisfaction about the time spent working away from home, and various
complaints to employees and associates of Mr. Pratte related to his responsibilities at
the dunes. But, he kept working, without collecting traditional compensation, day
after day, month after month, year after year.

In 2018, Mr. Bardwell told Justin Pratte that he’d had enough. “I can’t do this
anymore,” Mr. Bardwell said. “Ron can come after me in Court.” Then, Mr.
Bardwell went dark. He stopped answering calls and text messages. He refused to
meet with Mr. Pratte to discuss whatever issues has caused him to suddenly
disappear. But after working for Mr. Pratte under the same agreement that was first
proposed in December 2005, reaffirmed in January 2006, and then reaffirmed every
day that Mr. Bardwell went to work for Mr. Pratte between 2006-2018 without
recetving (or demanding) any additional compensation, Mr. Bardwell opted for a
new path: intentionally breach his contractual obligations and dare Mr. Pratte to sue
him while enjoying the fruits of his ill-gotten gains.

As it relates to the December 2005 meeting at the North Las Vegas Airport,

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the testimony of every individual in attendance (except Mr. Bardwell) corroborates
the terms of the offer Mr. Pratte made to Mr. Bardwell. As it relates to the January
2006 meeting in Arizona, the testimony of every individual in attendance (except
Mr. Bardwell) corroborates the fact that Mr. Pratte and Mr. Bardwell again discussed
the specific terms of their agreement — millions of dollars in cash and real estate
revenues in exchange for working for Mr. Pratte for the rest of Mr. Pratte’s life — and
that Mr. Bardwell unequivocally agreed to the terms proposed by Mr. Pratte. There is
no dispute that Mr. Bardwell worked for Mr. Pratte, without traditional
compensation, for around twelve years. And there is no dispute that Mr. Bardwell
took every penny paid to him by Mr. Pratte and then, after twelve years, quit
working for Mr. Pratte without so much as a phone call or text message.
2. Causes of Action Asserted by Mr. Pratte

a. Breach of Contract

On his claim for breach of contract, Ron Pratte must prove there was a
contract with the defendant Bardwell, Bardweil breached the contract and that the
breach resulted in damage to Ron Pratte.

In December 2005, Ron Pratte verbally offered to give Bardwell a percentage
of Ron Pratte’s business holdings if Bardwell agreed to work for Ron Pratte for life.
Bardwell accepted the deal and as a result Ron Pratte paid Bardwell and his former
wife Maria Recendez $10,624,200 in cash, property and tax benefits. Specifically,
Ron Pratte paid Bardwell a $2 million check (the 709 Form lists $1 million to Jeff
Bardwell and $1 million to Mrs. Jeff Bardwell). Ron Pratte also transferred
$26,688,000 million in properties te companies in which Mr. Bardwell held a 20%
interest (Mr. Bardwell’s interest was worth $5,337,600). And Mr. Pratte paid Mr.
Bardwell’s taxes on the payments and transfers, totaling $3,378,092.00. The offer
and acceptance were witnessed by Justin Pratte, Todd Carriere, Jamie Ziparo and
Trevor Pratte. On or about March 3, 2018, Bardwell breached the agreement. He

stopped speaking with Ron Pratte and ceased working. As a result, Plaintiff has

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suffered damage.
b. Promissory Estoppel

To establish promissory estoppel, Plaintiff must prove: (1) the Defendant
made a promise; (2} Defendant should have reasonably foreseen that Plaintiff would
rely on that promise; and (3) Plaintiff relied to its detriment on the promise. See
Higginbotiom v. State, 203 Ariz. 139, 144, 7 18, 51 P.3d 972, 977 (App. 2002). A
party asserting promissory estoppel must also demonstrate that injustice can be
avoided only by enforcement of the promise. Double AA Builders, Ltd. v. Grand
State Constr. L.L.C., 210 Ariz. 503, 506, 7 13, 114 P.3d 835, 838 (App. 2005)
“Promissory estoppel provides an equitable remedy that renders a promise
enforceable... .” Sholes v. Fernando, 228 Ariz. 455, 460, J 14, 268 P.3d 1112, 1117
(App. 2011).

Bardwell promised Ron Pratte that he would work for him for life. Bardwell
had worked with Ron Pratte for years and knew his work ethic, Bardwell was fully
aware of the terms of his agreement with Mr. Pratte. Bardwell should have known
that accepting over ten million dollars from Mr. Pratte would lead Mr. Pratte to
reasonably expect Bardwell would actually work for him for life. Mr. Pratte would
not have paid Bardwell over ten million dollars had he not believed Bardwell wouid
fulfill his promise. It would be unjust for Bardwell to retain the $10,624,200 despite
his failure to fulfil the promise.

c. Unjust Enrichment

Plaintiff's unjust enrichment claim is made in the alternative to his breach of
contract claim. Should the Court find that the statute of frauds invalidates the
contractual agreement between Pratte and Bardwell, Plaintiff will seek damages in
accordance under a theory of unjust enrichment.

In order be able to prevail on a claim of unjust enrichment, a plaintiff must
prove each of the following five elements: (1) an enrichment, (2) an impoverishment,

(3) a connection between the enrichment and the impoverishment, (4) the absence of

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justification for the enrichment and impoverishment, and (5) the absence of a remedy
provided by law.

Ron Pratte paid Bardwell and his spouse over ten million dollars if Bardwell
worked for him for life. Bardwell only performed services for 12 years and the
benefit Bardwell and his current spouse enjoy far outweighed the $10,624,200 in
cash, property and tax benefits paid by Pratte.

3. Legal Theories Related to Defenses Raised or Facts Asserted by

Mr. Bardwell
a. Lifetime Contract

In his MIDP Disclosure, Bardwell alleges that Plaintiffs claims as asserted in
the Complaint would make him an “indentured servant” and that the asserted
contract is void as against Arizona public policy. Neither is true. First, Bardwell was
anything but an indentured servant. Prior to entering into the contract with Mr.
Pratte, Bardwell made approximately $150,000 a year. The contract provided him
with upfront compensation worth over $10 million—or what Bardwell would have
made in about 67 years at his previous salary. The fact that this windfall came with
strings attached is neither unconscionable nor surprising.

Furthermore, lifetime employment is not against public policy and has been
recognized as legitimate under Arizona law. Notably, it is usually the employee that
seeks to enforce a lifetime employment contract—Bardwell takes the unusual
position that he worked for free with no obligations despite accepting 67 years’
worth of compensation upfront.

The general rule is that in the absence of additional express or
implied stipulations as to duration, where the employee furnishes
no consideration in addition to the services incidental to his
employment, a contract for lifetime employment amounts to an
indefinite general hiring terminable at will by either party... .
However, where, as here, the employee gives up his security of
union representation to work in a non-union shop only after he
has been assured lifetime employment, the employee, in giving
up this valuable security with the knowledge of the employer,
furnishes consideration sufficient to support the promise of

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lifetime employment.

Gesina v. Gen. Elec. Co., 162 Ariz. 35, 36-37, 780 P.2d 1376, 1377-78 (Ct. App.
1989); see also Koepping v. Tri-Cty. Metro. Transp. Dist. of Oregon, 120 F.3d 998,
1003 (9th Cir. 1997) (“a promise of permanent employment that was collateral to the
sale of plaintiff's Portland, Oregon, bakery and his agreement not to compete for five
years, was an enforceable contract”); Langendorf United Bakeries, Inc. v. Moore,
327 F.2d 592, 594-95 (9th Cir. 1964) (finding a lifetime contract appropriate “where
there are additional circumstances which would render such a promise not
unreasonable in the light of that which is bargained for’).

Here, Bardwell received an extraordinary windfall and, at the same time, in
consideration he gave up his right to a salary going forward. In addition, even by
Bardwell’s own admissions, that windfall came with expectations related to a
continuing relationship and specific purposes for the use of the windfall—
expectations that Bardwell failed to meet. He was not an “indentured servant.” He
was a man offered an opportunity. Now that he no longer wants the opportunity, he
also must return the associated windfall.

Nor does Bardwell’s citation to Ariz, Rev. Stat. Ann. § 23-1501 allow him to
keep his windfall. As an initial matter, that Section is meant to protect employees
from unfair termination—not to allow employees to keep upfront compensation
despite failing to work. Furthermore, that Section explicitly states a public policy
preference for contractual employment relations—not windfall gifts followed by
alleged “voluntary” work.

Nor does this Section (or Arizona law in general) prohibit unwritten

employment contracts.

Arizona recognizes that implied-in-fact contract terms may create
an exception to employment that is completely at will... . While
employment contracts without express terms are presumptively at
will, an employee can overcome this presumption by establishing
a contract term that is either expressed or inferred from the words
or conduct of the parties... . When so inferred, the implied-in-

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fact term is part of the contract. ... An example of such a term is
one that offers the employee job security—one specifying the
duration of employment or limiting the reasons for dismissal . . .

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Demasse y. ITT Corp., 194 Ariz. 500, 505, 984 P.2d 1138, 1143 (1999) (internal
citations omitted). It stands to reason that if an employee can enforce such terms, an
employer may do the same in the unusual circumstances of this case.
Simply put, “When employment circumstances offer a term of job security to an
employee who might otherwise be dischargeable at will and the employee acts in
response to that promise, the employment relationship is no longer at will but is
instead governed by the terms of the contract.” /d. (emphasis in original). Here, a
$10 million upfront windfall created a contract that Bardwell breached.

b. The Contract between Mr. Pratte and Mr. Bardwell was not an

unconditional gift.

In his MIDP Disclosure, Bardwell alleges that the compensation he received
was a gift with no strings attached. Bardwell fails to establish the necessary elements
to prove that his windfall was a gift. To the extent he can establish any elements to
show he received a gift, that gift was clearly conditional based on the undisputed
facts. Mr. Bardwell concedes that upon his receipt of the $10 million compensation,
Plaintiff stopped paying him a salary or providing tax documents. Bardwell insists
that his work for Plaintiff in the subsequent 12 years was little more than a hobby—
one at which he worked between 1,800 and 3,000 hours a year.

Bardwell’s excuse rings hollow. But more importantly, the change in
Bardwell’s compensation occurred at the exact moment Mr. Pratte provided him
with the $10 million. “A gift inter vivos requires that donor manifest a clear intent to
give to party claiming as donee and that latter be given full possession and control of
property before death of donor.” 11A Ariz. Prac., Real Estate Law A.R.S. § 33-601.
The “[bJurden is on alleged donee seeking to establish gift of realty inter vivos, or to

make imperfect gift thereof valid, under equitable doctrine of estoppel, to establish

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such gift by evidence which is certain, clear, complete, direct, positive, express and
satisfactory.” Id.

Bardwell cannot establish donative intent. See Ewing v. Hladky Constr., Inc.,
48 F.3d 1086 (Wy. 2002). Instead, the compensation provided was clearly a
substitute for Bardwell’s previous salary.

While the underlying situations are different, the most analogous reasoning
comes from cases examining donative intent conditioned on a continuing familial

Gee

relationship. A ““‘gift may be conditional upon the continuance . . . of a relation, and
if conditional the donor is entitled to its return if the relation terminates . . . The
condition may be stated in specific words or it may be inferred from the
circumstances.’” Hellyer v. Hellyer, 119 Ariz. 365, 367, 580 P.2d 1219, 1221 (Ct.
App. 1978) (quoting Restatement of Restitution § 58 cmt. b (1937)); see also Brown
v. Dooner, No. 1 CA-CV 12-0582, 2013 WL 6506941, at *2 (Ariz. Ct. App. Dec. 10,
2013) (“The donor may expressly or impliedly condition the donee’s retention of the
gift on the continuation of the parties’ relationship”).

Here, Mr. Bardwell admits, “Plaintiff treated Bardwell not only as a valuable
employee, but also came to treat him like a virtual ‘son,’ or member of his family.”
(Defendant’s MIDP at 11:19-20.) Bardwell concedes that Mr. Pratte provided him
money for a specific purpose: “At that meeting Plaintiff advised his family members
that he was going to gift them each monies and property to get them started in their
own development enterprise.” Ud. at 12:13-15.) He further concedes “that Plaintiff
wanted to have the five [recipients] learn to operate, in a ‘hands-on’ capacity, a real
estate construction and development company. Plaintiff then explained that the
second million dollars was so that, between them, the five men could start and
operate a construction and development business later known or referred to as Stellar
Development (‘Stellar’).” Gd. at 13:5-10.)

Even if there is merit to Mr. Bardwell’s allegation that Plaintiff's payment

was a gift, by his own admissions, that gift was conditioned on a continuing working

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relationship and was earmarked for a specific purpose. By his own theory, Defendant
Bardwell failed to abide by those conditions and must return the money.
c. Mr. Bardwell’s spurious claims of illegal conduct

Throughout his MIDP Disclosure (and in particular in his list of persons likely
to have discoverable information), Bardwell alludes to several of Mr. Pratte’s actions
that Mr. Bardwell claims (without evidence) are “illegal.” Bardwell seems to suggest
(without ever stating it) that this conduct excuses Bardwell from fulfilling his
contract. Even if Bardwell’s allegations were truthful (they are not), his allegations
do not affect his obligations under the contract or excuse his non-performance.

“While a contract closely connected with some unlawful plan or act is not
enforceable, if the contract is merely collaterally connected with an unlawful purpose
or act, the rule generally adopted is that the contract is valid if it is only remotely
connected with an unlawful transaction and rests on an independent and legal
consideration, and the plaintiff can establish his or her case without relying on the
unlawful transaction.” 8 Williston on Contracts § 19:11 (4th ed.); see also Mountain
States Bolt, Nut & Screw Co. v. Best-Way Transp., 116 Ariz. 123, 124, 568 P.2d 430,
431 (Ct. App. 1977) (“Thus if the acts to be performed under the contract are
themselves illegal or contrary to public policy, or if the legislature has clearly
demonstrated its intent to prohibit maintenance of a cause of action, then recovery
should be denied. However, none of these circumstances is present here. The
transportation of goods is not in and of itself an illegal purpose or contrary to public
policy.”); E & S Insulation Co. of Arizona v. E. L. Jones Const. Co., 121 Ariz. 468,
470, 591 P.2d 560, 562 (Ct. App. 1979) (“The fact that the contract was performed
by a subcontractor who had not paid Arizona taxes for two successive years does not
add a public policy reason to bar recovery, since the Legislature allows a General
contractor in the same situation both to contract for and perform the public work”).

Bardwell’s allegations of illegal conduct (related to cash payments to workers

and FAA regulations for Plaintiffs plane) have nothing to do with the subject of the

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employment contract between Mr. Pratte and Bardwell—indeed the allegations are
so far attenuated that they are not even relevant. Instead, Bardwell alludes to these
allegations solely to publicly accuse Mr. Pratte of misconduct in an ill-advised
attempt to gain leverage in this litigation.
Vv. Computation of Each Category of Damages and Documents Supporting

Same

Plaintiff seeks the return of the $10,624,200 in cash, property and tax benefits
he paid to Bardwell and his family. The $10,624,200 is supported by the appraisals
and gift tax filings from 2006. In addition, Plaintiff is entitled to recover his
attorneys’ fees under A.R.S. 12-341.01.

Mr. Pratte will further supplement his damages disclosure here with expert
reports and expert testimony on the deadline set by the Court.

VI. Insurance or Other Agreement Under Which an Insurance Business or
Other Person or Entity May Be Liable To Satisfy AH or Part of a Possible
Judgment in the Action or to Indemnify or Reimburse a Party for
Payments Made by the Party to Satisfy the Judgment.

Not applicable.

DATED this 26" day of August, 2020
KERCSMAR & FELTUS PLLC

By: s/_Gregory Collins
Gregory B. Collins
Zach R. Fort
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CERTIFICATE OF SERVICE

I certify that on August 24, 2020, I transmitted the foregoing, via electronic mail and
U.S. Mail, to the following:

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Pratte v. Bardwell, Case No.: 2:19-cv-00239-PHX-GMS
EXHIBIT 6
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From: "Ron Pratte <prattepx1@cox.net>" <Ron Pratte <prattepx1@cox.net>>
Sent: Sun, 13 Sep 2015 01:40:01 +0000

To: ["Jeff Bardwell <jbardweli@pratte.net>"]

Subject: Re: Happy Birthday

Thank you Jeff that means a great deal to me, Love you too.

On Sep 12, 2015, at 7:45 AM, Jbardwell <jbardwel!l@pratte net> wrote:

Ron,

Thope this day finds you well, I want to wish you a Happy Birthday. There is nothing in this
world that I could buy for you that you can't buy yourself. As we all know. What I can give you is
my loyalty, my trust and my dedication which we all know you can't buy. You are a man that has
changed my life forever. I will be forever grateful, Please enjoy your day as life is too short. T love

you.

Jeff

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